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ROBERT E. ATKINSON

CHAPTER 7 BANKRUPTCY TRUSTEE
376 E. Warm Springs Rd Suite 130

Las Vegas, NV 89119

Telephone: (702) 617-3200

Email: Robert@ch7.vegas

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
Case No. 21-14486-abl
In re: Chapter 7
INFINITY CAPITAL MANAGEMENT, INC. DECLARATION OF
dba INFINITY HEALTH CONNECTIONS, MICHAEL HEALEY
Debtor.

 

I, Michael Healey, hereby declare as follows:

1, I am over the age of 18 and have personal knowledge of the facts stated herein.

2. I am a Nevada-licensed certified public accountant employed by Paul M. Healey
& Sons CPAs Ltd. (“Healey”). I make this declaration in support of the application entitled
EX PARTE APPLICATION TO EMPLOY PAUL M. HEALEY & SONS CPAs LTD. AS
ACCOUNTANT (“Application’’), filed contemporaneously herewith.

3. The Healey Firm has represented bankruptcy trustees as an accountant for many
bankruptcy cases in this District. The Healey Firm has the experience and expertise to
competently be the accountant for the above-captioned bankruptcy estate.

4. The rates presently charged by the Healey Firm are $225 per hour for Paul M.
Healey, $200 per hour for Michael Healey, $75 per hour for other accountants, and $40 per
hour for administrative staff, plus costs. These rates may change from year to year.

5. I have reviewed the list of creditors for this case and, to the best of my

knowledge (and therefore assert on that basis):

e The Healey Firm does not hold an interest adverse to this bankruptcy
estate;

 

 
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e The Healey Firm is disinterested within the meaning of Section 101(14) of
the Bankruptcy Code; and

e The Healey Firm does not have any connection with the Debtor, the
creditors, any other party in interest, their respective attorneys and
accountants, the United States Trustee, or any person employed in the
office of the United States Trustee.

6. As a matter of full disclosure, the Healey Firm has been employed as an
accountant by various panel trustees in this District on bankruptcy cases unrelated to this case.
I assert that because these cases are unrelated, there is no adverse interest to the employment
of the Healey Firm in this case.

###H#H #
I declare under penalty of perjury that the foregoing is true and correct, to the best of my

knowledge, information, and belief. _

 

 

 
